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Pro Se I (Rev. 12/16) Complaint for a Civil Case



                                        UNITED STATES DISTRICT COURT
                                                                        for the

                                                     - - - - - District of - - - - -
                                                              E    r n,.,n. D' ..
                                                                 ,JJ.lf:Jf.l u 1v1s10n


                                                                          )       Case No.        6:20-cv-01299-SB
                                                                          )                   (to be filled in by the Clerk's Officej
                                                                          )
                              PlaintiffM                                  )
(Write the fit!! name of each plaintiff who is filing this complaint.     )
if the names of all the plaintiffs cannot flt in the space above,                 Jury Trial: (check one) ) 0 ( s 0No
please write "see attached" in the space and attach an additional         )
page with theji1ll list of names.)                                        )
                                  -v-                                     )
                                                                          )
                                                                          )
                                                                          )
~fLd_tr               Pol&~ 'Odttl~jA
                              Defendant(,~
                                                                          )
(Write the fi,ll name of each defendant who is being sued. If the
                                                                          )
names of all the defendants cannot fit in the space above, please         )
write "see attached" in the space and attach an additional page           )
with thefi1/l list of names.)



                                                   COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                Name
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (iflcnown). Attach additional pages if needed.


                                                                                                                                        Page I of 5
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Pro Se I (Rev. 12/16) Complaint for a Civil Case


                     Defendant No. 1
                                Name
                                                                ftrJJV/~ /l1cidl:YfL~---
                                Job or Title (if !mown)
                                                                _].,e,+e,,e,_J_:_tL_~------
                                 Street Address
                                City and County
                                 State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                      Defendant No. 2
                                Name
                                Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 3
                                Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4
                                Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)



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Pro Se I (Rev. 12/16) Complaint for a Civil Case


II.       Basis for Jurisdiction

          Fe_deral comis are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdicti~:m? ;'heck all that apply)
                  □ F ederaI question
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           Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




           B.        If the Basis for Jurisdiction Is Diversity of Citizenship

                      l.         The Plaintiff(s)

                                 a.         If the plaintiff is an ind~dual
                                            The plaintiff, (name)   _fi_l_{J-( 1 ~      /UI ,· 11-e.c.__·- - - - , is a citizen of the
                                            State of (name)       A-ivi ~------------
                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                                  , is incorporated
                                                                         ----------------
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                                  , is a citizen of
                                                                         ----------------
                                            the State of (name)                                                  Or is a citizen of
                                            (foreign nation)


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                                        b.        If the defendant is a corporation
                                                  The defendant, (name)      £.., {J,,,~~12~--------- ,             is incorporated under
                                                  the laws of the State of (name)     -fr-ML{                               ,and has its
                                                   principal place of business in the State of (name)   M-,e=-L~--------
                                                   Or is incorporated under the laws of (foreign natio1~
                                                  and has its principal place of business in (name)     ~l,.1!!_~    Q.,_,,{<_,,._ ____

                                       (If more than one defendant is named in the complaint, attach an additional page providing the
                                       same information for each additional defendant.)

                            3.         The Amount in Controversy

                                       The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                       stake-is more than $75,000, not counting interest and costs of court, because (explain):




       III.      Statement of Claim

                 Write a short and plain statement of the claim. Do riot make legal arguments. State as briefly as possible the
                 facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
                 involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
                 the dates and places of that involvement or conduct. ff more than one claim is asserted, number each claim and
              I, wrize a short a~d plain statement of each claim in_ a se~ate paragraph. Attach additional pages if needed.
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      IV.        Relief

                 State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
                 arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
                 the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
                 punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
                 punitive money damages.




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    V.        Certification and Closing

              Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
              and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
              unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
              nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
              evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
              opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
              requirements of Rule 11.

              A.          For Parties Without an Attorney

                          I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                          served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                          in the dismissal of my case.

                          Date of signing:             J{i1ha
                          Signature of Plaintiff             ~ /.!-~
                          Printed Name of Plaintiff      -    {;_ 1~L£-          ;VI,·   /lu
               B.         For Attorneys

                          Date of signing:


                          Signature of Attorney
                          Printed Name of Attorney
                          Bar Number
                          Name of Law Firm
                          Street Address
                          State and Zip Code
                          Telephone Number
                          E-mail Address




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